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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03010-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




State of Colorado, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03715-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.



                 DEFENDANT GOOGLE LLC’S OPPOSITION TO
              BRAD GREENSPAN’S MOTION FOR RECONSIDERATION
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       Google respectfully requests that the Court deny Brad Greenspan’s Motion for

Reconsideration (ECF 790) of the Court’s November 28, 2023 Order denying his Motion to

Intervene. The November 28 Order correctly concluded that Mr. Greenspan has not established

that he has standing to intervene in this case and that his attempted intervention is untimely. Mr.

Greenspan identifies no sound basis for reconsidering that determination under Fed. R. Civ. P.

54(b), 59(e), 60(b), or any other authority.

I.     Legal Standard

       Mr. Greenspan’s Motion seeks reconsideration pursuant to Fed. R. Civ. P. 59(e), which

provides that “[a] motion to alter or amend a judgment must be filed no later than 28 days after

the entry of the judgment.” See Mot. at 4. “Reconsideration may be warranted if the movant

establishes an intervening change of controlling law, the availability of new evidence, or the

need to correct clear error or manifest injustice.” Roane v. Gonzales, 832 F. Supp. 2d 61, 64

(D.D.C. 2011). In this case, the Motion for Reconsideration bears a December 27, 2023 file

stamp, which was the 29th day after the Court denied Mr. Greenspan’s Motion to Intervene. “A

motion for reconsideration filed outside the 28–day window provided by Rule 59(e) is typically

viewed as a Rule 60(b) motion.” Ali v. Carnegie Inst. of Wash., 309 F.R.D. 77, 81 (D.D.C.

2015). “Rule 60(b) … requires a party moving for reconsideration of a final judgment to show

that a different ruling is warranted due to mistake, newly discovered evidence, fraud or

misrepresentation, party misconduct, a void judgment, an already satisfied judgment, or another

reason that justifies relief.” Byrd-Sanders v. FedChoice Fed. Credit Union, 2017 WL 6541258,

at *1 (D.D.C. Oct. 3, 2017) (internal quotation marks omitted).

       Because an order denying a motion for intervention does not adjudicate the claims of all

parties to the action, however, some courts have reviewed a request for reconsideration of such

an order under Fed. R. Civ. P. 54(b) instead of Rule 59(e) or 60(b). E.g., Anand v. U.S. Dep’t of
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Health & Human Servs., 2022 WL 2753244, at *1 (D.D.C. Jan. 19, 2022) (concluding that

“[a]lthough Movant … cites Federal Rule of Civil Procedure 59(e) as the basis for his request for

reconsideration, the Court finds that Rule 54(b) supplies the appropriate standard for the relief

sought” where Movants asked “the Court to alter or amend its decision to deny their requests to

intervene”). When applying Rule 54(b), “[i]n general, a court will grant a motion for

reconsideration of an interlocutory order only when the movant demonstrates: (1) an intervening

change in the law; (2) the discovery of new evidence not previously available; or (3) a clear error

in the first order.” Parker v. John Moriarty & Assocs., 221 F. Supp. 3d 1, 2 (D.D.C. 2016)

(internal quotation marks omitted).

       “Regardless of the Rule pursuant to which reconsideration is sought, it is well-established

that motions for reconsideration, whatever their procedural basis, cannot be used as an

opportunity to reargue facts and theories upon which a court has already ruled, nor as a vehicle

for presenting theories or arguments that could have been advanced earlier.” Ali, 309 F.R.D. at

81. Moreover, “the party seeking reconsideration bears the burden of establishing that such

relief is warranted under the circumstances.” Id.

II.    Argument

       Mr. Greenspan’s Motion for Reconsideration should be denied irrespective of whether it

is reviewed pursuant Rule 54(b), 59(e), 60(b), or any other authority. See id. at 82.

       First, Mr. Greenspan has not identified an intervening change in the law concerning

intervention pursuant to Fed. R. Civ. P. 24, Article III standing, or another pertinent doctrine. For

example, Rules 24(a) and 24(b) both still require a “timely motion,” such that “[i]f the motion is

untimely, the explicit language of the rule dictates that intervention must be denied.” Amador

Cnty., Cal. v. U.S. Dep’t of Interior, 772 F.3d 901, 903 (D.C. Cir. 2014) (internal quotation

marks omitted); see, e.g., Campaign Legal Ctr. v. Fed. Elec. Comm’n, 68 F.4th 607, 610-11
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(D.C. Cir. 2023) (affirming district court’s denial of belated motion to intervene as of right). As

the Court correctly concluded in its November 28 Order, a consideration of the relevant

circumstances confirms that the Motion to Intervene came far too late. See id.; Google’s Opp. to

Mot. to Intervene (ECF 787) at 4-5.

       Second, the Motion for Reconsideration does not identify new evidence that was

previously unavailable. The attachments to the Motion consist primarily of publicly available

filings in other litigations or characterizations of media reports from more than a decade ago.

These materials should not have had any bearing on the determination of Mr. Greenspan’s

Motion to Intervene even if they had been submitted with the Motion because they neither

establish Article III standing nor justify the timing of the attempt to intervene. But even if the

attachments had some purported significance, they would not serve as a sound basis for

reevaluating the Court’s November 28 Order because “a motion for reconsideration may not

present evidence that was available but not offered in the original motion.” United States v.

Cabrera, 699 F. Supp. 2d 35, 41 (D.D.C. 2010). 1

       Third, the Court’s November 28 Order was and is correct in all respects, and it certainly

does not reflect the kind of “clear error or manifest injustice” that would merit reconsideration


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  Mr. Greenspan subsequently filed another collection of orders, docket entries, and other
material from various litigations with a Request for Judicial Notice (ECF 794). The Request for
Judicial Notice should be denied because the records are not relevant to any issue, including
whether the Court should reconsider its November 28 Order. See Larson v. Dep’t of State, 565
F.3d 857, 870 (D.C. Cir. 2009); Slate v. Am. Broad. Cos., 12 F. Supp. 3d 30, 44-45 (D.D.C.
2013) (explaining that “the matters to be noticed must be relevant,” and denying a request
pursuant to Fed. R. Evid. 201 where “the exhibits presented for judicial notice are ‘all irrelevant
to the Court’s rulings’”). To the extent that the Court takes judicial notice of any of the records
submitted with ECF 794, they would not justify reconsideration of the Court’s November 28
Order because, among other things, the records were not previously unavailable. See Ali, 309
F.R.D. at 81 (“Regardless of the Rule pursuant to which reconsideration is sought, it is well-
established that motions for reconsideration, whatever their procedural basis, cannot be used as
… a vehicle for presenting theories or arguments that could have been advanced earlier.”).

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under Rule 59(e) or any other authority. See Roane, 832 F. Supp. 2d at 66 (explaining that “[t]he

standard of proving manifest injustice is high” (cleaned up)). For example, the November 28

Order properly concluded that the Motion to Intervene did not establish that Mr. Greenspan has

Article III standing to participate in this case. That was correct based on the record presented

through the Motion to Intervene and it remains correct even if the Court were to account for Mr.

Greenspan’s additional assertions, as the Motion for Reconsideration neither establishes that he

may contribute to Plaintiffs’ efforts by offering additional arguments or evidence nor

demonstrates that he has standing to pursue any claims of his own. See Nov. 28, 2023 Order

(noting that Mr. Greenspan “appears to argue that as an Intervenor, he would contribute

additional evidence in support of Plaintiffs’ case” and concluding that he “has failed to identify

any cognizable claims or injuries he would be able to pursue or remedy”). There is no clear error

or manifest injustice in denying an attempt by a member of the public to argue the merits of a

case brought by the United States and numerous states that has already been tried. See, e.g.,

Env’t Integrity Project v. McCarthy, 319 F.R.D. 8, 15, 17 (D.D.C. 2016) (denying motion to

intervene as of right because “Article III standing requires more than allegations of damage to an

interest in seeing the law obeyed or a social goal furthered,” and denying permissive intervention

because “Movants’ desire to inject their substantive concerns … threatens to delay resolution of

the claims pending between the original parties”).

        Fourth, there is no other basis for reconsidering the Court’s November 28 Order denying

Mr. Greenspan’s Motion to Intervene. Mr. Greenspan’s Motion not only fails to set forth

grounds for reconsideration under Rule 59(e), but also highlights the disruptiveness of

intervention at this late stage. See, e.g., Mot. at 5 (purporting to “seek[] a stay in order to file for

advancement from Delaware Court of Chancery to receive the funds owed by former employer



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of Google’s lawyer, News Corp under Plaintiff’s indemnification employment rights”).

Whatever interest Mr. Greenspan professes to have in this matter, it does not justify intervention,

and the request to reconsider the Court’s November 28 Order should be denied. See, e.g., Anand,

2022 WL 2753244, at *1 (denying reconsideration of motions to intervene where none of the

movants’ “lengthy allegations address the crux of the Court’s earlier ruling” that an “‘interest’ in

the subject matter … is not a sufficient basis to permit Movants to intervene in the present

lawsuit”).




Dated: January 5, 2024                          Respectfully submitted,

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